     Case 2:20-cv-04364-PSG-RAO Document 39 Filed 10/06/20 Page 1 of 5 Page ID #:155




 1
      Anthony I. Paronich (subject to pro hac vice)
 2    Paronich Law, P.C.
 3    350 Lincoln Street, Suite 2400
      Hingham, MA 02043
 4    (508) 221-1510
 5    anthony@paronichlaw.com
 6
      Local Counsel for Plaintiff, Remaining Counsel for Plaintiff Below
 7
 8                        UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
10    TERRY FABRICANT, individually
      and on behalf of all others similarly        Case No. 2:20-CV-04364-PSG-RAO
11    situated,
12                                                 JOINT STIPULATION TO STAY
                         Plaintiff,                THIS MATTER PENDING
13
                                                   THE U.S. SUPREME COURT’S
14          v.
                                                   DECISION IN FACEBOOK, INC. V.
15                                                 DUGUID
      INDEPENDENT ORDER OF
16    FORESTERS and MARK BLOCK
17
                         Defendants.
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21
22          Plaintiff Terry Fabricant and Defendants Independent Order of Foresters and

23    Mark Block stipulate to Stay all proceedings in this action pending a decision of the
24    U.S. Supreme Court in Facebook v. Duguid, No. 19-511 (U.S. cert. granted July 9,
25    2020) (“Facebook”). The decision in Facebook will clarify the definition of an
26    Automatic Telephone Dialing System (an “ATDS”) as defined in the Telephone
27    Consumer Protection Act, 47 U.S.C. § 227(a)(1) (the “TCPA”). Clarification of the
28    ATDS definition by the U.S. Supreme Court will determine a central, potentially
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                      JOINT STIPULATION TO STAY THIS MATTER
     Case 2:20-cv-04364-PSG-RAO Document 39 Filed 10/06/20 Page 2 of 5 Page ID #:156




 1    dispositive issue to Plaintiff’s claim under the TCPA.
 2            This Court should stay this action until the U.S. Supreme Court issues its
 3    opinion in Facebook because, if Defendants did not use an ATDS to call Plaintiff,
 4    they cannot be liable under the TCPA, irrespective of the disputed consent issue.
 5    See 47 U.S.C. § 227(b)(1). All parties agree that a stay would be beneficial in this
 6    case.
 7
              The parties agree that while the Defendants, Independent Order of Foresters
 8
      and Mark Block, consent to the request of the Plaintiff, the Defendants expressly
 9
      reserve the right to petition the Court in the future for a lift of the stay prior to an
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      opinion from the U.S. Supreme Court in the Facebook case in the event
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      circumstances would warrant such relief.
12
              The parties further jointly request that the Scheduling Conference currently
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      scheduled for October 14, 2020 (Dkt. 38) be taken off calendar and continued to a
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      date to be determined after either (1) the U.S. Supreme Court issues its opinion in
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      Facebook or (2) that Defendants Independent Order of Foresters and/or Mark Block
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17    requests that the stay be lifted.

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                       JOINT STIPULATION TO STAY THIS MATTER
     Case 2:20-cv-04364-PSG-RAO Document 39 Filed 10/06/20 Page 3 of 5 Page ID #:157




 1     Dated: October 6, 2020         Respectfully submitted,
 2                                    /s/ ______________________
 3                                    ANTHONY I. PARONICH_____________

 4
                                      ADAM J. SCHWARTZ, BAR NO. 251831
 5                                    5670 WILSHIRE BLVD., SUITE 1800
                                      LOS ANGELES, CA 90036
 6                                    TEL: (323) 455-4016
 7                                    E-MAIL: ADAM@AJSCHWARTZLAW.COM
 8                                    Brian K. Murphy (subject to pro hac vice)
 9                                    Jonathan P. Misny (subject to pro hac vice)
                                      Murray Murphy Moul + Basil LLP
10                                    1114 Dublin Road
                                      Columbus, OH 43215
11                                    (614) 488-0400
12                                    (614) 488-0401 facsimile
                                      murphy@mmmb.com
13                                    misny@mmmb.com
14                                    Attorney for Plaintiff Terry Fabricant and the
15                                    Proposed Class
16
       Dated: October 6, 2020         Respectfully submitted,
17
18                                    NELSON MULLINS, RILEY &
                                      SCARBOROUGH LLP
19
20                                    /s/ ______________________
21                                    Larry Kristinik
                                      Lauren A. Deeb
22                                    Jahmy S. Graham
23
                                      Attorneys for Defendant
24                                    Independent Order of Foresters
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                     JOINT STIPULATION TO STAY THIS MATTER
     Case 2:20-cv-04364-PSG-RAO Document 39 Filed 10/06/20 Page 4 of 5 Page ID #:158




 1
 2     Dated: October 6, 2020         Respectfully submitted,
 3                                    /s/ _________________________
 4                                    Mark Block
 5                                    Pro Se Defendant
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                     JOINT STIPULATION TO STAY THIS MATTER
     Case 2:20-cv-04364-PSG-RAO Document 39 Filed 10/06/20 Page 5 of 5 Page ID #:159




 1                                 FILER’S ATTESTATION
 2          I, Anthony I Paronich, am the ECF User whose identification and password

 3    are being used to file this joint stipulation. I hereby attest that Larry Kristinik and
 4    Mark Block concur in this filing’s content and have authorized its filing.
 5
                                          BY:    /s/_________________________
 6                                               ANTHONY I. PARONICH
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                      JOINT STIPULATION TO STAY THIS MATTER
